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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                           UNITED STATES DISTRICT COURT                                July 25, 2022
                            SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                HOUSTON DIVISION


BYRON WALTON, et al.,                          §
                                               §
        Plaintiffs,                            §
                                               §
VS.                                            §     CIVIL ACTION NO. 4:22-CV-01886
                                               §
JP MORGAN CHASE BANK N.A., et al.,             §
                                               §
        Defendants.                            §


                      ORDER OF DISMISSAL WITHOUT PREJUDICE

       Plaintiffs Byron Walton and Cargill USA LLC have filed a Notice of Voluntary

Dismissal Without Prejudice. (Doc. 6.) In accordance with that Notice and Rule 41(a)(1)(A)(i) of

the Federal Rules of Civil Procedure, all claims are DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED.

        Signed at Houston, Texas on July 25, 2022.


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                                                     Keith P. Ellison
                                                     United States District Judge




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